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                      UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

Michael Burke, et al.

v.                                           Case Number: 4:22−cv−03480

Flagstar Bank




                               NOTICE OF RESETTING

TAKE NOTICE THAT A PROCEEDING IN THIS CASE HAS BEEN RESET
FOR THE PLACE, DATE AND TIME SET FORTH BELOW.




Before the Honorable
Alfred H Bennett
PLACE:
Courtroom 9A
United States District Court
515 Rusk Ave
Houston, TX
DATE: 3/3/2023

TIME: 09:00 AM
TYPE OF PROCEEDING: Initial Conference


Date: February 21, 2023
                                                        Nathan Ochsner, Clerk
